                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                  FOR THE NORTHERN DISTRICT OF ALABAMA

Fill in this information to identify your case:
Debtor 1               Ashley Isehi Prim                                                                 Check if this is an amended plan
                         Name: First     Middle                      Last                                Amends plan dated: January 30, /2024
Debtor 2
(Spouse, if filing)      Name: First     Middle                      Last


Case number:             24-00287
(If known)




Chapter 13 Plan

Part 1:      Notices

To Debtor(s):          This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                       indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules, administrative
                       orders, and judicial rulings may not be confirmable.

                       In the following notice to creditors, you must check each box that applies. Your failure to check a box that applies renders
                       that provision ineffective.

To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                       You should read this plan carefully and discuss it with your attorney, if you have one in this bankruptcy case. If you do not have
                       an attorney, you may wish to consult one.

                       If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                       confirmation at least 7 days before the confirmation hearing, unless otherwise ordered. The Bankruptcy Court may confirm this
                       plan without further notice if no objection to confirmation is made. See Bankruptcy Rule 3015. In addition, a proper proof of
                       claim must be filed in order to be paid under this plan.

                       The following matters may be of particular importance to you. Debtor(s) must check each box that applies. Debtor(s)' failure to
                       check a box that applies renders that provision ineffective.


                          The plan seeks to limit the amount of a secured claim, as set out in Part 3, § 3.2, which may result in a partial payment
                       or no payment at all to the secured creditor.

                         The plan requests the avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest as set out in
                       Part 3, § 3.4.

                          The plan sets out nonstandard provision(s) in Part 9.

Part 2:      Plan Payments and Length of Plan

2.1          Debtor(s) will make regular payments to the trustee as follows:

             $500.00 per MONTH for 60 months

             Debtor(s) shall commence payments within thirty (30) days of the petition date.

2.2          Regular payments to the trustee will be made from future income in the following manner (check all that apply):

                       Debtor(s) will make payments pursuant to a payroll deduction. Debtor(s) request a payroll deduction be issued to:
                       Debtor(s) will make payments directly to the trustee.
                       Other (specify method of payment)




                                                                            Chapter 13 Plan                                              Page 1

       Case 24-00287-DSC13                        Doc 26    Filed 04/04/24 Entered 04/04/24 15:55:06                               Desc Main
                                                           Document     Page 1 of 5
Debtor            Ashley Isehi Prim                                        Case number       24-00287                                  Eff (01/01/2019)

2.3        Income tax refunds and returns. Check one.
                   Debtor(s) will retain any income tax refunds received during the plan term.

                    Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                    return and will turn over to the trustee income tax refunds received during the plan term, if any.

                    Debtor(s) will treat income tax refunds as follows:
                    AS DISPOSABLE INCOME, SEE SCHEDULE I

                    Debtor(s) believe they are not required to file income tax returns and do not expect to receive tax refunds during the plan term.

2.4        Additional Payment Check all that apply.
                   None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
                     Debtor(s) will make additional payment(s) to the trustee from proceeds of claim(s), cause(s) of action, lawsuit(s), settlement(s),
                     or judgment award(s), as specified below:
                     Debtor proposes that proceeds in excess of claimed exemptions from potential lawsuit recovery, if any,
                     shall be paid to Chapter 13 Trustee.

2.5        Adequate Protection Payments

           Any adequate protection payments shall be made as part of this plan; see Part 3 or Part 9 for details. The secured creditor must file a proof
           of claim in order to receive payment. Unless otherwise ordered, adequate protection payments through the trustee shall be made as funds
           are available after the proof of claim is properly filed.

Part 3:     Treatment of Secured Claims

3.1        Maintenance of payments and cure of defaults, if any, on long-term secured debts. Check one.

                    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2        Request for valuation of security, claim modification, and hearing on valuation. Check one.

                    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

 3.3       Secured claims excluded from 11 U.S.C. § 506 and fully secured claims. Check one.

                    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                    The claims listed below:
                         1. were incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
                            vehicle acquired for the personal use of Debtor(s), or
                         2. were incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
                            value, or
                         3. are fully secured.
                    These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                    trustee as specified below. Unless otherwise ordered, the status and amount stated on a proof of claim or amended proof of claim
                    controls over any contrary amount listed below as to the estimated amount of the creditor's total claim, but the interest rate is
                    controlled by the plan.

                    The holder of any claim listed below will retain the lien until the earlier of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) discharge under 11 U.S.C. § 1328(a), at which time the lien will terminate and be released by the creditor.

                                    Monthly              Estimated
                                                                                                                       Monthly Fixed Monthly Fixed
                                   Adequate             Amount of                              Value of     Interest
       Name of Creditor                                                       Collateral                                Payment to    Payment to
                                   Protection         Creditor's Total                         Collateral    Rate
                                                                                                                         Creditor       Begin
                                    Payment               Claim
   COLONIAL AUTO                     $60.00             $15,721.00         2012 NISSAN         $6,025.00    6.00%         $335.00           07/2024
 FINANCE/AMERICA'S                                                           ROGUE
     CAR-MART



                                                                         Chapter 13 Plan                                            Page 2 of 4

        Case 24-00287-DSC13                     Doc 26     Filed 04/04/24 Entered 04/04/24 15:55:06                               Desc Main
                                                          Document     Page 2 of 5
Debtor            Ashley Isehi Prim                                         Case number        24-00287                                      Eff (01/01/2019)

3.4       Section 522(f) judicial lien and nonpossessory, nonpurchase-money ("Non-PPM") security interest avoidance. Check all that apply.

                    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5       Surrender of collateral. Check one.

                    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4:    Treatment of Fees and Priority Claims

4.1       General

Trustee’s fees will be paid in full. Except as set forth in § 4.5, allowed priority claims also will be paid in full, without interest.

4.2       Chapter 13 case filing fee. Check one.

              Debtor(s) intend to pay the Chapter 13 case filing fee through the plan.
              Debtor(s) intend to pay the Chapter 13 case filing fee directly to the Clerk of Court.

4.3       Attorney's fees.

          The total fee requested by Debtor(s)’ attorney is $4,250.00. The amount of the attorney fee paid prepetition is $0.00.
          The balance of the fee owed to Debtor(s)’ attorney is $4,250.00, payable as follows (check one):

              $ 650.00 at confirmation, then $ 325.00 per month for two (2) months and then $ 85.00 per month thereafter until paid in full, or
              in accordance with any applicable administrative order regarding fees entered in the division where the case is pending.

4.4       Priority claims other than attorney’s fees and domestic support obligations. Check one.

                    None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5       Domestic support obligations. Check one.

                    None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

Part 5:    Treatment of Nonpriority Unsecured Claims

5.1       Nonpriority unsecured claims not separately classified.

          Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata.

5.2       Percentage, Base, or Pot Plan. Check one.

                    100% Repayment Plan. This plan proposes to pay 100% of each allowed nonpriority unsecured claim.
                    Percentage Plan. This plan proposes to pay        % of each allowed nonpriority unsecured claim.
                    Pot Plan. This plan proposes to pay $ 5,405.00 , distributed pro rata to holders of allowed nonpriority unsecured claims.
                    Base Plan. This plan proposes to pay $       to the trustee (plus any tax refunds, lawsuit proceeds, or additional payments
                    pursuant to §§ 2.3 and 2.4). Holders of allowed nonpriority unsecured claims will receive the funds remaining, if any, after
                    disbursements have been made to all other creditors provided for in this plan

5.3       Interest on allowed nonpriority unsecured claims not separately classified. Check one.
                   None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

5.4       Maintenance of payments and cure of any default on long-term nonpriority unsecured claims. Check one.

                    None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

5.5       Other separately classified nonpriority unsecured claims. Check one.

                    None. If “None” is checked, the rest of § 5.5 need not be completed or reproduced.




                                                                          Chapter 13 Plan                                                 Page 3 of 4

       Case 24-00287-DSC13                     Doc 26       Filed 04/04/24 Entered 04/04/24 15:55:06                                      Desc Main
                                                           Document     Page 3 of 5
Debtor           Ashley Isehi Prim                                       Case number       24-00287                                 Eff (01/01/2019)


Part 6:     Executory Contracts and Unexpired Leases

6.1        The executory contracts and unexpired leases listed below are assumed, will be treated as specified, and any defaults cured.
           Check one.

                    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
                    Assumed items. Current installment payments will be disbursed either by the trustee or paid directly by Debtor(s), as specified
                    below. Arrearage payments will be disbursed by the trustee. The final two columns include only payments disbursed by the
                    trustee rather than by Debtor(s). Unless otherwise ordered, the amounts listed on a proof of claim or amended proof of claim
                    control over any contrary amounts listed below as to the estimated amount of the current installment payment and arrearage.

                    Description of Leased                                                        Amount of      Monthly Fixed      Monthly Fixed
      Name of                                                      Current Installment
                    Property or Executory        Lease Term                                     Arrearage to     Payment to         Payment to
      Creditor                                                          Payment
                          Contract                                                                be Paid         Creditor            Begin
                                                                        $800.00
                   LEASED RESIDENTIAL                           Disbursed by: Debtor(s)
    EIN TEW          REAL PROPERTY                ANNUAL            To begin:02/2024                  N/A             N/A                N/A

6.2        The executory contracts and unexpired leases listed below are rejected: Check one.

                    None. If “None” is checked, the rest of § 6.2 need not be completed or reproduced.

Part 7:     Sequence of Payments

7.1        Unless otherwise ordered, the trustee will make the monthly payments required in Parts 3 through 6 in the sequence of payments
           set forth in the administrative order for the division in which this case is pending.

Part 8:     Vesting of Property of the Estate

8.1        Property of the estate will vest in Debtor(s) (check one):

            Upon plan confirmation.

            Upon entry of Discharge

Part 9:     Nonstandard Plan Provisions

                    None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

Part 10: Signatures:

Signature(s) of Debtor(s) required.

Signature(s) of Debtor(s) (required):

X       /s/ Ashley Isehi Prim                                                     Date    April 4, 2024
        Ashley Isehi Prim

Signature of Attorney for Debtor(s):

X       /s/ Robert D. Reese                                              Date   April 4, 2024
        Robert D. Reese
        15 Southlake Lane, Suite 140
        Birmingham, AL 35244
        (205) 802-2200

Name/Address/Telephone/Attorney for Debtor(s):

By filing this document, Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) certif(ies) that the wording and order of
the provisions in this Chapter 13 plan are identical to those contained in this district’s Local Form, other than any nonstandard provisions
included in Part 9.



                                                                        Chapter 13 Plan                                         Page 4 of 4

        Case 24-00287-DSC13                  Doc 26      Filed 04/04/24 Entered 04/04/24 15:55:06                              Desc Main
                                                        Document     Page 4 of 5
 In re    Ashley Isehi Prim                                              Case No.   24-00287-13
                                                    Debtor(s)



                                          CHAPTER 13 PLAN
                                              Attachment B




                                       CERTIFICATE OF SERVICE



       I hereby certify that I have served a copy of the Amended Chapter 13 Plan upon Bradford W. Caraway,
Chapter 13 Trustee via CM/ECF to ctmail@ch13bham.com and all creditors listed on the creditor matrix via
United States Mail properly addressed and pre-paid first class postage on April 4, 2024.


                                               /s/ Grafton W. Weinacker
                                               Grafton W. Weinacker, Attorney for Debtor(s)
                                               Bond, Botes, Reese & Shinn, P.C.
                                               15 Southlake Lane, Suite 140
                                               Birmingham, AL 35244-3328
                                               (205) 802-2200




         Case 24-00287-DSC13   Doc 26    Filed 04/04/24 Entered 04/04/24 15:55:06          Desc Main
                                        Document     Page 5 of 5
